Case 1:11-cv-20758-UU Document 9 Entered on FLSD Docket 04/19/2011 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



 CEFERINO CAMPOS,

 Plaintiff,


 vs.                                                    Case No.: 11-20758-CIV-UNGARO
 NELSON, WATSON & ASSOCIATES,
 LLC., et al,

 Defendants.
 _________________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: April 19, 2011                         Respectfully submitted,


                                               /s Andrew I. Glenn
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